                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

In the matter of:
                                                             Case No. 08-65203-MBM
BENNETT, TREVOR L.                                           Chapter 7
BENNETT, LORRA J.                                            Hon. MARCI B. MCIVOR

                  Debtor(s)



                           NOTICE OF UNCLAIMED DIVIDENDS


TO:   CLERK OF THE COURT

      The attached checks represent the total sum of unclaimed dividends
in this estate and is paid to the Court pursuant to 11 U.S.C. Section
347(a). The name(s) and address(es) of the party(ies) entitled to these
unclaimed dividends is (are) as follows:

Creditor Name                                    Claim No.              Dividend

Arthritis Consultants, PC                    3                               $     41.37

Bank of America                              4                                   1,632.90

Citi Cards                                   10                                  3,139.78

LaSalle Bank                                 13                                  2,065.69

Med Express                                  14                                    63.77

Med Express                                  15                                    46.69

Sam’s Club                                   18                                    578.46

Sprint                                       20                                   209.90


                                                               TOTAL         $ 7,778.56


Date: April 15, 2019                              /s/ Kenneth A. Nathan
                                                  Kenneth A. Nathan, Trustee (P39142)
                                                  32300 Northwestern Hwy, Suite 200
                                                  Farmington Hills, MI 48334
                                                  ken@nathanlawplc.com
                                                  (248) 663-5133




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